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Attorneys for Federal Defendants

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION
ROCKY MOUNTAIN WILD,               )
BIODIVERSITY CONSERVATION          )
ALLIANCE, COTTONWOOD               )
ENVIRONMENTAL LAW CENTER, and      )
WILDWEST INSTITUTE,                )                No. 13-cv-42-DWM
                                   )
      Plaintiffs,                  )
                                   )                STIPULATION ON FEES
             v.                    )                AND COSTS
                                   )
U.S. FISH & WILDLIFE SERVICE,      )
DANIEL M. ASHE, and S.M.R. JEWELL, )
                                   )
      Defendants.                  )
                                   )

      This Stipulation is entered into by and between Plaintiffs Rocky Mountain

Wild, Biodiversity Conservation Alliance, Cottonwood Environmental Law

Center, and Wildwest Institute (“Plaintiffs”), and the United States Fish and

Wildlife Service, Daniel M. Ashe, and S.M.R. Jewell (“Defendants”).
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       WHEREAS, Plaintiffs filed their amended complaint in this matter on

February 2, 2013, alleging that Defendants’ determination not to list the white

tailed prairie dog as “threatened” or “endangered” under the Endangered Species

Act (“ESA”) violated the ESA and the Administrative Procedure Act;

       WHEREAS, the Court granted summary judgment to Plaintiffs in part and to

Defendants in part on September 29, 2014;

       NOW, THEREFORE, IT IS STIPULATED BY AND BETWEEN THE

PARTIES AS FOLLOWS:

       1.     Defendants agree to pay Plaintiffs reasonable attorneys’ fees and costs

pursuant to section 11(g) of the ESA, 16 U.S.C. § 1540(g). Defendants therefore

agree to settle all of Plaintiffs’ claims for costs and attorneys’ fees in this matter for

a total of $109,000.00. An electronic payment in the settlement amount of

$109,000.00 will be made to Great Western Bank in Denver, Colorado.

       2.     Plaintiffs agree to furnish Defendants with the information necessary

to effectuate payment pursuant to Paragraph One and to hold the United States

harmless for any loss caused by following this authorization and direction, if any

loss should occur. Defendants agree to submit all necessary paperwork for the

processing of the attorneys’ fees award to the Department of the Treasury’s

Judgment Fund Office within ten business days of the filing of this Stipulation or



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the receipt of the information described in this Paragraph, whichever is later.

       3.     Plaintiffs agree to accept payment of $109,000.00 in full satisfaction

of any and all claims for attorneys’ fees and costs of litigation in this matter up to

and including this date. Plaintiffs agree that receipt of this payment from

Defendants shall operate as a release of Plaintiffs’ claims for attorneys’ fees and

costs in this matter.

       4.     Plaintiffs reserve the right to seek additional fees and costs incurred

subsequent to this Stipulation arising in any future litigation or continuation of the

present action. Defendants reserve the right to contest fees claimed by Plaintiffs or

Plaintiffs’ counsel, including hourly rates and the number of hours billed, in any

future litigation or continuation of the present action. Further, this Stipulation as to

attorneys’ fees and costs has no precedential value and shall not be used as

evidence in any other attorneys’ fees litigation.

       5.     Nothing in this Stipulation shall be interpreted as, or shall constitute, a

requirement that Defendants are obligated to pay any funds exceeding those

available, or take any action in contravention of the Anti-Deficiency Act, 31

U.S.C. § 1341, or any other appropriations law.

       6.     The parties agree that this Stipulation was negotiated in good faith and

that this Stipulation constitutes a resolution of claims that were denied and



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disputed by the parties. By entering into this Stipulation, the parties do not waive

any claim or defense.

       7.     The undersigned representatives of each party certify that they are

fully authorized by the party or parties they represent to agree to the terms and

conditions of this Stipulation and do hereby agree to the terms herein.



Respectfully submitted this 8th day of July, 2015.



                                          JOHN C. CRUDEN,
                                          Assistant Attorney General
                                          SETH M. BARSKY, Chief
                                          KRISTEN L. GUSTAFSON,
                                          Assistant Chief

                                          /s/ Travis J. Annatoyn
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